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(Revised 01/2017)




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

Civil Action No.: 1:21-cv-2994-REB

SAN LUIS VALLEY ECOSYSTEM COUNCIL, SAN JUAN CITIZENS ALLIANCE, THE
WILDERNESS SOCIETY, and WILDEARTH GUARDIANS,

          Petitioners,

v.

DAN DALLAS, in his official capacity as Forest Supervisor for the Rio Grande National
Forest; and UNITED STATES FOREST SERVICE, a federal agency of the United States
Department of Agriculture,

          Federal Respondents; and

TRAILS PRESERVATION ALLIANCE, BACKCOUNTRY DISCOVERY ROUTES,
COLORADO SNOWMOBILE ASSOCIATION, AND THE COLORADO 500,

          Applicant Intervenor Respondents.


                    AMENDED JOINT CASE MANAGEMENT PLAN FOR PETITION
                             FOR REVIEW OF AGENCY ACTION


1.        APPEARANCES OF COUNSEL

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2.     STATEMENT OF LEGAL BASIS FOR SUBJECT MATTER JURISDICTION

Petitioners allege the Court has jurisdiction under 28 U.S.C. § 1331 (federal question) and
the Administrative Procedure Act, 5 U.S.C. § 704.

Federal Respondents and Applicant Intervenor Respondents allege that the Court lacks
jurisdiction over some or all of Petitioners’ claims due to statute of limitations, waiver, or
failure to exhaust administrative remedies. Federal Respondents and Applicant
Intervenor Respondents will raise any jurisdictional defenses in their merits brief.


3.     DATES OF FILING OF RELEVANT PLEADINGS

       A.     Date Petition for Review Was Filed: November 8, 2021

       B.     Date Petition for Review Was Served on U.S. Attorney's Office:
              December 4, 2021

       C.     Date Answer or Other Response Was Filed:
              January 11, 2022 (Federal Respondents)
              May 12, 2022 (Applicant Intervenor Repondents)
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      D.     Date Administrative Record Was Lodged:
             March 4, 2022 (Dkt. No. 15)


4.    STATEMENT(S) REGARDING WHETHER THIS CASE RAISES UNUSUAL
      CLAIMS OR DEFENSES

The Parties agree that this case not does raise any unusual claims or defenses.


5.    OTHER MATTERS

      A.     The parties have conferred and respectfully request this Court set a
             deadline for Petitioners to file a Second Amended Petition for Review (if
             needed) to add or remove claims by July 1, 2022. The parties further agree
             that the already filed (1) Response to Petitioners’ November 8, 2021
             “Petition for Review Seeking Declaratory and Injunctive Relief” [Dkt. No. 8]
             and (2) Proposed Response to Petitioners’ First Amended Petition for
             Review [Dkt No. 17-6] shall be deemed a response to any subsequently
             filed Amended Petition for Review.

      B.     There is a separately filed lawsuit that is a related case to this matter.
             Defenders of Wildlife v. U.S. Forest Serv., Civil Action No. 21-cv-2992-REB.
             The petitioners in Defenders filed a Notice of Related Case. ECF No. 5.

             The two cases arise from a common set of facts, and challenge the same
             federal agency action. This includes the Final Environmental Impact
             Statement and Record of Decision for the 2020 Rio Grande National Forest
             Land Management Plan. The cases share a party in common, though do not
             share legal claims in common. Though the resolution of one case could
             impact the resolution of the other case, the parties in this action do not
             currently seek to consolidate the two cases.

      C.     Trails Preservation Alliance, Backcountry Discovery Routes, Colorado
             Snowmobile Association, and The Colorado 500 moved to intervene as
             respondents in this matter. Dkt. No. 17. Petitioners and Federal
             Respondents do not oppose the motion to intervene, subject to the
             conditions included in the Applicant Intervenor Respondents’ Proposed
             Order.

      D.     The parties are conferring on the contents of the March 4, 2022
             Administrative Record lodged by Federal Respondents. Federal
             Respondents anticipate lodging a supplemental Administrative Record by
             June 10, 2022.

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6.     PROPOSED BRIEFING SCHEDULE

The parties have conferred and respectfully request this Court enter the following briefing
schedule:

       A.     Deadline for Filing Motions to Complete and/or Supplement the
              Administrative Record: July 1, 2022

       B.     Petitioners’ Opening Brief Due: August 5, 2022

       C.     Federal Respondents’ Response Brief Due: September 20, 2022

       D.     Intervenor Respondents’ Response Brief Due: September 27, 2022

       E.     Petitioners’ Reply Brief (If Any) Due: October 28, 2022

The parties have also conferred about word limits for briefing this matter on the merits,
and agree to the following word limits (excluding the case caption, signature blocks,
certificates of service, table of contents, and table of authorities):

       A. 10,000 words for Petitioners’ opening brief;

       B. 10,000 words for Federal Respondents’ response brief;

       C. 8,000 words for Intervenor Respondents’ response brief;

       D. 6,000 words for Petitioners’ reply brief.


7. STATEMENTS REGARDING ORAL ARGUMENT

All parties agree that this case would be aided by oral argument given its complexity
related to facts and the law.


8. CONSENT TO EXERCISE OF JURISDICTION BY MAGISTRATE JUDGE

                      Indicate below the parties' consent choice.

       A.     ( )    All parties have consented to the exercise of jurisdiction of a
                     United States Magistrate Judge.

       B.     (X)    All parties have not consented to the exercise of jurisdiction of a
                     United States Magistrate Judge.

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9. OTHER MATTERS

      A.    The Parties agree to comply with the Federal Rules of Civil Procedure and
            the District of Colorado’s local rules with respect to any motions seeking an
            extension of time or a continuance in this matter, or any other matter.

      B.    Federal Respondent seeks leave to provide the Administrative Record on
            electronic media (e.g., thumb drive to Court, thumb drive or link to cloud
            storage to Petitioners), rather than filing it on CM-ECF.


10. AMENDMENTS TO JOINT CASE MANAGEMENT PLAN

The parties agree that the Joint Case Management Plan may be altered or amended only
upon a showing of good cause.

      DATED this _______ day of __________, 20___.


                                                BY THE COURT


                                                U.S. District Court Judge

APPROVED:


/s/ John R. Mellgren                        /s/ Kelly E. Nokes
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